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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: )} Chapter 11
LINENS HOLDING CO., et al.,' Case No. 08-10832 (CSS)
Debtors. Jointly Administered
Docket No. 2177

ORDER, PURSUANT TO SECTIONS 105, 363 AND 365 OF THE BANKRUPTCY
CODE AND BANKRUPTCY RULES 2002, 6004 AND 6006, APPROVING THE
REJECTION OF LEASE BY AND BETWEEN EMMES REALTY SERVICES AS
LANDLORD AND LNT, INC., AS TENANT REGARDING STORE NO. 599

Pursuant to the Order Pursuant to Sections 105, 363 and 365 of title 11 of the United
States Code and Rules 2002, 6004 and 6006 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”), Approving Expedited Procedures for the Rejection or Assumption and
Assignment of the Debtors’ Executory Contracts and Unexpired Leases (the “Procedures Order”)
[Docket No. 829]; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§
157 and 1334; and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Debtor
having properly filed and served a Rejection Notice’ in accordance with the terms of the
Procedures Order in respect of the lease by and between Emmes Realty Services, as landlord and
LNT, Inc., as tenant regarding store number 599 (along with any subleases relating thereto, the

“Lease”); and no timely objections have been filed to the rejection of such Lease; and due and

proper notice of the Procedures Order and Rejection Notice having been provided, and it

 

' The Debtors in these cases, along with the last four digits of the federal tax identification
number for each of the Debtors, are Linens Holding Co. (2917), Linens ‘n Things, Inc. (3939), Linens ‘n
Things Center, Inc. (0138), Bloomington, MN., L.T., Inc. (8498), Vendor Finance, LLC (5543), LNT,
Inc. (4668), LNT Services, Inc. (2093), LNT Leasing II, LLC (4182), LNT West, Inc. (1975), LNT
Virginia LLC (9453), LNT Merchandising Company LLC (2616), LNT Leasing III, LLC (3599) and
Citadel LNT, LLC (2479).

? Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Procedures Order.

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appearing that no other notice need be provided; and after due deliberation and sufficient cause
appearing therefor,

NOW, IT IS HEREBY ORDERED THAT:

1, The rejection of the Lease is hereby approved.

2. The Debtors hereby abandon any personal property remaining on the leased
premises identified on “Attachment I” to the applicable Rejection Notice, On or after the date
the lease is rejected, the landlord may dispose of all property remaining on the leases premises,
including without limitation any abandoned property, without liability to any party, The right of
the landlord to file a claim against the Debtors related to the disposal of any property remaining
on the leased premises, including without limitation any abandoned personal property, is fully
preserved,

3. If the affected landlord or counterparty or any other party in interest subject to this
Order (the “Rejection Claimant”) asserts a claim or claims against the Debtors arising from the
rejection of the Lease herein or the abandonment of any personal property on the leased
premises, such Rejection Claimant shall submit a proof of claim to Linens ‘n Things Claims
Processing Center, c/o Kurtzman Carson Consultants LLC, 2335 Alaska Avenue, El Segundo,
CA 90245 on or before the later of (i) the date that is 30 days after the entry of an order of this
Court approving the rejection of the Lease, or (ii) the bar date established by this Court for filing
proofs of claim against the Debtors. If a Rejection Claimant does not timely file such proof of
claim, such claimant shall be forever barred from asserting a claim for such rejection damages.

4. The Debtors are authorized to take any action necessary to implement the terms of
this Order and the rejection without further order from this Court.

5. The rejection of the Lease shall be effective on the later of (i) ten (10) days from

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the date the applicable Rejection Notice is served on the affected counterparty or landlord, or (ii)
if a Lease, the date that the Debtors vacate the premises by notifying the affected landlord in
writing of the Debtors’ unequivocal surrender of the premises and turning over keys or “key
codes” to the affected landlord, unless otherwise ordered by the Court.

6. This Court shall retain exclusive jurisdiction to resolve any dispute arising from
or related to this Order.

Dated: December [S_, 2008
Wilmington, Delaware

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THE HONORABLE GHRISTOPHER $8. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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